Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OHIO

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Matthew
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        M.
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Motil
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-3113
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
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Debtor 1   Matthew M. Motil                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 7011 Chadbourne Drive
                                 North Olmsted, OH 44070
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Cuyahoga
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any              have lived in this district longer than in any other
                                        other district.                                               district.

                                        I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Matthew M. Motil                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Matthew M. Motil                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S.C. §
    1182(1)?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
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Debtor 1    Matthew M. Motil                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Matthew M. Motil                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                                No. Go to line 16b.
                                                Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.

                                                Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                    No
     are paid that funds will
     be available for                           Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Matthew M. Motil
                                 Matthew M. Motil                                                  Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     March 7, 2022                                     Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Matthew M. Motil                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Thomas W. Coffey                                               Date         March 7, 2022
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Thomas W. Coffey 0046877
                                Printed name

                                Coffey Law LLC
                                Firm name

                                2430 Tremont Avenue, Front
                                Cleveland, OH 44113-4635
                                Number, Street, City, State & ZIP Code

                                Contact phone     (216) 870-8866                             Email address         tcoffey@tcoffeylaw.com
                                0046877 OH
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Matthew M. Motil
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $                     0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $            277,500.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $            277,500.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $                     0.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $             59,830.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $            220,444.00


                                                                                                                                     Your total liabilities $                280,274.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $                     0.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $                     0.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
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 Debtor 1      Matthew M. Motil                                                           Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                   Matthew M. Motil
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OHIO

 Case number                                                                                                                                            Check if this is an
                                                                                                                                                        amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                     $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured
                                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
         Yes. Describe.....

                                         Debtor's interest in household goods and furnishings owned
                                         jointly with non-filing spouse.                                                                                        $11,000.00




Official Form 106A/B                                                      Schedule A/B: Property                                                                      page 1
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 Debtor 1       Matthew M. Motil                                                                    Case number (if known)

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Personal computers, telephones, and related equipment                                                        Unknown


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    Three Nine mm pistols: Taurus PT 1911 ($250.00); Glock 19
                                    ($350.00); Smith & Wesson M&P ($300.00)                                                                        $900.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Ordinary men's clothing                                                                                      Unknown


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Wedding ring and other jewelry                                                                               Unknown


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    Dog, mixed breed                                                                                               $100.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
        Yes. Give specific information.....

                                    Personal and household items owned by Debtor                                                                 Unknown




Official Form 106A/B                                                 Schedule A/B: Property                                                            page 2
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 Debtor 1         Matthew M. Motil                                                                                            Case number (if known)


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                           $12,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                                    $500.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Chase Bank                                                           Unknown



                                              17.2.       Savings                                 Chase Bank                                                           Unknown


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

                                                  ALV Cleveland, LLC                                                                100          %                           $0.00


                                                  NS Equity Cleveland, LLC                                                          100          %                           $0.00


                                                  North Shore Equity Sales, LLC                                                     100          %                           $0.00


                                                  BUYCLE 158, LLC                                                                   100          %                           $0.00


                                                  BUYCLE 175, LLC                                                                   100          %                           $0.00


                                                  BUYCLE 176, LLC                                                                   100          %                           $0.00


                                                  INVCLE150, LLC                                                                    100          %                           $0.00




Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 3
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 Debtor 1         Matthew M. Motil                                                                         Case number (if known)


                                            NSEM Management 1, LLC                                               100        %                          $0.00


                                            NSEM Mansfield 2, LLC                                                100        %                          $0.00


                                            Motil Capital, LLC                                                   100        %                          $0.00


                                            Alpha Legend Ventures, LLC                                           100        %                          $0.00


                                            Trinity Capiyal Management, LLC                                      100        %                          $0.00


                                            Alpha Thread Worx, LLC                                               100        %                          $0.00


                                            3rd Party Management, LLC                                            100        %                          $0.00


                                            CLE Bros Coffee, LLC                                                 100        %                          $0.00


                                            ALV Twinsburg, LLC                                                   100        %                          $0.00


                                            BUY CLE 100, LLC                                                     100        %                          $0.00


                                            DREMCUBED, LLC                                                        50        %                    Unknown


                                            AXC Cleveland, LLC                                                    50        %                          $0.00


                                            AXC Twinsburg, LLC                                                    50        %                          $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                         Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                       Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
Official Form 106A/B                                                 Schedule A/B: Property                                                            page 4
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 Debtor 1        Matthew M. Motil                                                                        Case number (if known)

        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
        Yes. Give specific information about them...

                                              Patent for Nutraceutical Formulation for Unblocking Receptors.
                                              Patent has been, or may have been, assigned to DREMCUBED,
                                              LLC. Patent is registered in the names of Debtor's non-filing
                                              spounse and Debtor. Ownership of DREMCUBED LLC is also
                                              50-50 Debtor and Debtor's non-filing spouse. Filing for Patent was
                                              June, 2019. There is, to-date, no viable product or manufacturing
                                              capability associated with the patent.                                                                 Unknown


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                             Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No

Official Form 106A/B                                                 Schedule A/B: Property                                                                page 5
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 Debtor 1        Matthew M. Motil                                                                                                Case number (if known)

        Yes. Describe each claim.........

                                                          Legal Malpractice Claim against Cavitch Familo & Durkin                                                       $200,000.00


                                                          Breach of Contract claim against Ryan Stewman adn Break
                                                          Free Academy                                                                                                    $25,000.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
        Yes. Describe each claim.........

                                                          Counterclaim against Geoff DelGrosso based on conversion
                                                          of Alpha Thread Worx, LLC assets                                                                                $40,000.00


35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................          $265,500.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                    $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 6
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 Debtor 1         Matthew M. Motil                                                                                                      Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
 56. Part 2: Total vehicles, line 5                                                                               $0.00
 57. Part 3: Total personal and household items, line 15                                                     $12,000.00
 58. Part 4: Total financial assets, line 36                                                                $265,500.00
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $277,500.00               Copy personal property total         $277,500.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $277,500.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 7
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 Fill in this information to identify your case:

 Debtor 1                 Matthew M. Motil
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Debtor's interest in household goods                           $11,000.00                                                Ohio Rev. Code Ann. §
      and furnishings owned jointly with                                                                                       2329.66(A)(4)(a)
      non-filing spouse.                                                                   100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                          any applicable statutory limit


      Personal computers, telephones, and                             Unknown                                                  Ohio Rev. Code Ann. §
      related equipment                                                                                                        2329.66(A)(5)
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Three Nine mm pistols: Taurus PT                                    $900.00                                              Ohio Rev. Code Ann. §
      1911 ($250.00); Glock 19 ($350.00);                                                                                      2329.66(A)(18)
      Smith & Wesson M&P ($300.00)                                                         100% of fair market value, up to
      Line from Schedule A/B: 10.1                                                         any applicable statutory limit


      Ordinary men's clothing                                         Unknown                                                  Ohio Rev. Code Ann. §
      Line from Schedule A/B: 11.1                                                                                             2329.66(A)(4)(a)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Ordinary men's clothing                                         Unknown                                         $0.00    Ohio Rev. Code Ann. §
      Line from Schedule A/B: 11.1                                                                                             2329.66(A)(4)(a)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Matthew M. Motil                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Wedding ring and other jewelry                                    Unknown                                                    Ohio Rev. Code Ann. §
     Line from Schedule A/B: 12.1                                                                                                 2329.66(A)(4)(b)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dog, mixed breed                                                    $100.00                                                  Ohio Rev. Code Ann. §
     Line from Schedule A/B: 13.1                                                                                                 2329.66(A)(18)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Personal and household items                                      Unknown                                                    Ohio Rev. Code Ann. §
     owned by Debtor                                                                                                              2329.66(A)(18)
     Line from Schedule A/B: 14.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                $500.00                                   $500.00        Ohio Rev. Code Ann. §
     Line from Schedule A/B: 16.1                                                                                                 2329.66(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     DREMCUBED, LLC                                                    Unknown                                                    Ohio Rev. Code Ann. §
     50 % ownership                                                                                                               2329.66(A)(18)
     Line from Schedule A/B: 19.18                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

     Legal Malpractice Claim against                                 $200,000.00                                                  Ohio Rev. Code Ann. §
     Cavitch Familo & Durkin                                                                                                      2329.66(A)(18)
     Line from Schedule A/B: 33.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Breach of Contract claim against                                 $25,000.00                                                  Ohio Rev. Code Ann. §
     Ryan Stewman adn Break Free                                                                                                  2329.66(A)(18)
     Academy                                                                               100% of fair market value, up to
     Line from Schedule A/B: 33.2                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                 Matthew M. Motil
                          First Name                        Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name           Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                            Check if this is an
                                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?

           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                     Matthew M. Motil
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          Misty Weir                                             Last 4 digits of account number                        $59,830.00                    $0.00          $59,830.00
              Priority Creditor's Name
              466 Foxtrail Circle East                               When was the debt incurred?
              Westerville, OH 43081
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Child Support currently set at $965.00 per month


 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 30
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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.1      668 Atrium, LLC                                            Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          4420 Sherwin Road                                          When was the debt incurred?
          Willoughby, OH 44094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guarantee of LLC debt


 4.2      Ace & Deuce (P. DuChamp)                                   Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          1900 N Auburn St                                           When was the debt incurred?
          Indianapolis, IN 46224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.3      Adam Niec                                                  Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          5145 Brecksville Road, Suite 305                           When was the debt incurred?
          Richfield, OH 44286
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 30
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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.4      American Express                                           Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          World Financial Center                                     When was the debt incurred?
          200 Vesey Street
          New York, NY 10285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   All debt on any card


 4.5      Amy Horner IRA                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          6162 Brighton Ln                                           When was the debt incurred?
          Milton, FL 32570
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.6      Ashley Igney                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          56304 Sylvan Meadows LN                                    When was the debt incurred?
          Bristol, IN 46507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.7      Attorney Gen'l of United States-Tax                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          U.S. Dept of Justice-Tax Division                          When was the debt incurred?
          P.O. Box 55 Ben Franklin Station
          Washington, DC 20044
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Any Tax Debts Owed


 4.8      Bluestone Commercials, LLC                                 Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          6545 Market Avenue North Suite                             When was the debt incurred?
          100
          Canton, OH 44721
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of LLC Debt


 4.9      Brandon Pearce                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Attorneys Ryan L. Thomas                               When was the debt incurred?
          Donnell & Thomas Law, LLC
          503 S. Front Street, Suite 250
          Columbus, OH 43215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.1
 0        Brian Bonetta                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          3293 Old Chisam Road, Apt 1B                               When was the debt incurred?
          Florence, AL 35630
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guarantee of LLC debt


 4.1
 1        Brian Niec                                                 Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          4541 Glen Eagle Dr                                         When was the debt incurred?
          Brecksville, OH 44141
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.1
 2        Bridge Loan Venture V Trust 2017-1                         Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          600 Travis Street                                          When was the debt incurred?
          6900 JP Morgan Chase Tower
          Houston, TX 77002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of LLC Debts




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.1
 3        Cecelia Arnulphi                                           Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          (c/o Webb City Properties, LLC)                            When was the debt incurred?
          14 Macintosh Ln
          Ashland, MA 01721
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.1
 4        Cheryl Lentz                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          540 Arlington Lane                                         When was the debt incurred?
          Grayslake, IL 60030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.1
 5        Cleveland Cavaliers                                        Last 4 digits of account number                                                     $132,654.73
          Nonpriority Creditor's Name
          1 Center Court                                             When was the debt incurred?
          Cleveland, OH 44115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Floor Seating Agreement




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.1
 6        Daniel Flores                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o SD Home Pathway LLC                                    When was the debt incurred?
          Fairfield, CA 94534
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.1
 7        Danielle Hansen                                            Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          12970 Simsbury Terrace                                     When was the debt incurred?
          Fort Myers, FL 33913
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guarnty of LLC Debt


 4.1
 8        Dave Fannin                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          2939 Crockett St Apt 4565                                  When was the debt incurred?
          Fort Worth, TX 76107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.1
 9        Donald Jarecki                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          10825 Fence Row Dr.                                        When was the debt incurred?
          Strongsville, OH 44149
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.2
 0        Eric Van Airsdale                                          Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          690 Madison Avenue                                         When was the debt incurred?
          Aurora, OH 44202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.2
 1        Forge Trust Co and Eric Chase                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          401 East 8th Street, Suite 222                             When was the debt incurred?
          Sioux Falls, SD 57103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debt of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.2
 2        Grove Capital, LLC                                         Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          9409 Robinhood Circle                                      When was the debt incurred?
          Westerville, OH 43082
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guarnaty of LLC Debt


 4.2
 3        Internal Revenue Service-CLE                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Insolvency Group 6                                         When was the debt incurred?
          1240 East Ninth Street Room 493
          Cleveland, OH 44119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Any Tax Debt Owed


 4.2
 4        IRA Services Trust Co.                                     Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          2710 Orchard Knob Drive                                    When was the debt incurred?
          Atlanta, GA 30339
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guarantee of LLC Debt




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.2
 5        James Scandola                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Quest Trust                                            When was the debt incurred?
          17171 Park Row, Suite 100
          Houston, TX 77084
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.2
 6        James Schultz                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          957 Pewter Rock                                            When was the debt incurred?
          Lakewood, NY 14750
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.2
 7        Jenika Group, Inc.                                         Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          P.O. Box 278232                                            When was the debt incurred?
          Sacramento, CA 95827
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.2
 8        Joel Fine                                                  Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          EPSP 401K                                                  When was the debt incurred?
          821 Laughing Dog Ct
          Leander, TX 78641
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.2
 9        Kara Douthett                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          3672 Tallman Ave SE                                        When was the debt incurred?
          Grand Rapids, MI 49508
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.3
 0        Kayla Voller                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          10058 Stevern Lane                                         When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Gauranty of LLC Debts




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 4.3
 1        Kim Linsky Roth IRA                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          9030 Woodrun Road                                          When was the debt incurred?
          Pensacola, FL 32514
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.3
 2        Kyle Bryant                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          10859 N. State Road 267                                    When was the debt incurred?
          Brownsburg, IN 46112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.3
 3        Kyle Collette                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          34 W Kanawha Ave                                           When was the debt incurred?
          Columbus, OH 43214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.3
 4        Lincoln Auto Financial Services                            Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          P.O. Box 62180                                             When was the debt incurred?
          Colorado Springs, CO 80962
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         All debt in connection with lease or
              Yes                                                       Other. Specify   purchase


 4.3
 5        Lori Rehn                                                  Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          403 Fort Ranch Road                                        When was the debt incurred?
          Georgetown, TX 78633
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debt of LLCs


 4.3      Lou-Ann Krause and Mark
 6        D'Olimpio                                                  Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          35 Vinton Road                                             When was the debt incurred?
          Sturbridge, MA 01566
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.3
 7        Mark Holder                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o McPherson Investments                                  When was the debt incurred?
          302 North Starfish Court
          Hampton, VA 23669
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.3
 8        Mark Roberson                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Specialized Trust                                      When was the debt incurred?
          6100 Indian School Road NE, Suite
          2
          Albuquerque, NM 87110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.3
 9        Marshall Lowy                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Lowy Consulting, LLC                                   When was the debt incurred?
          8042 Bienville Dr.
          Nashville, TN 37211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.4
 0        Matt Stine                                                 Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Specialized                                                When was the debt incurred?
          1651 Guildford Lane
          York, PA 17404
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.4
 1        Matt Stine                                                 Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          1651 Guildford Lane                                        When was the debt incurred?
          York, PA 17404
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.4
 2        Mercedes Benz Financial                                    Last 4 digits of account number                                                        $1,863.00
          Nonpriority Creditor's Name
          P.O. Box 685                                               When was the debt incurred?
          Roanoke, TX 76262
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.4
 3        Michael Volkerding                                         Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          114 Royal Troon Drive                                      When was the debt incurred?
          Cibolo, TX 78108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of LLC Debt


 4.4
 4        Mike Hickey                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          2100 Prairie Dog Drive                                     When was the debt incurred?
          Wake Forest, NC 27587
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.4
 5        Mike Motil                                                 Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          4421 139th Place SE                                        When was the debt incurred?
          Snohomish, WA 98296
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.4
 6        Mike Rodriguez                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Grove Capital                                              When was the debt incurred?
          c/o Attorney Bryan D. Thomas
          490 City Park Avenue
          Columbus, OH 43215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.4
 7        Nathan Horner                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          6162 Brighton Ln                                           When was the debt incurred?
          Milton, FL 32570
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.4
 8        Nelnet                                                     Last 4 digits of account number                                                      $84,916.27
          Nonpriority Creditor's Name
          PO Box 82561                                               When was the debt incurred?
          Lincoln, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan Debt




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.4
 9        Nick Mannochio                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          2913 Wigeon Way Apt 104                                    When was the debt incurred?
          Coventry Township, OH 44319
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.5
 0        Ohio Attoney General                                       Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Collect Enforce Section-Bankruptcy                         When was the debt incurred?
          150 Gay Street Floor 21
          Columbus, OH 43215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Any Debt Owed to State of Ohio


 4.5
 1        Perry Unruh                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          P.O. Box 203                                               When was the debt incurred?
          Grant, NE 69140
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.5
 2        Pete Linsky                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          9030 Woodrun Road                                          When was the debt incurred?
          Pensacola, FL 32514
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.5
 3        Peter Maguire                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          151 Flowing Creek Circle                                   When was the debt incurred?
          Kanata, Ontario K2M-OK2
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.5
 4        Phil Douthett                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          3672 Tallman Ave SE                                        When was the debt incurred?
          Grand Rapids, MI 49508
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.5
 5        Phil DuChamp                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          1900 N. Auburn St                                          When was the debt incurred?
          Indianapolis, IN 46224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.5
 6        R. Deane and Constance Linsky                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          5 E Walnut Street                                          When was the debt incurred?
          Shillington, PA 19607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.5
 7        Randall Ty DuBreuil                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          P.O. Box 142                                               When was the debt incurred?
          Littleton, MA 01460
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.5
 8        Raymond Catteneo                                           Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of LLC Debt


 4.5
 9        Robert Hines                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          1327 Belleaire Circle                                      When was the debt incurred?
          Orlando, FL 32804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.6
 0        Ryan Maider                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          1007 W Mohawk Ave                                          When was the debt incurred?
          Tampa, FL 33603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.6
 1        Scott Senseny                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Jimco                                                      When was the debt incurred?
          5115 Herman Ave #2
          Cleveland, OH 44102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.6      Sharestates Investments DACL,
 2        LLC                                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          11 Middle Neck Road, Unit 400A                             When was the debt incurred?
          Great Neck, NY 11021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.6
 3        Toby Oliver                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Attorney R. Kevin Saunders                             When was the debt incurred?
          Brennan, Manna & Diamond, LLC
          200 Public Square, Suite 3270
          Cleveland, OH 44114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.6
 4        Todd Killian                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          789 Old Farm Road                                          When was the debt incurred?
          Columbus, OH 43213
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.6
 5        Todd Killian                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Frambies 401k                                              When was the debt incurred?
          789 Old Farm Road
          Columbus, OH 43213
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs


 4.6
 6        Troy Malone                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          8709 N Dana Ave                                            When was the debt incurred?
          Portland, OR 97203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.6
 7        TTV's First, LLC                                           Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          6755 Mentor Avenue                                         When was the debt incurred?
          Mentor, OH 44060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guarantee of LLC debt


 4.6
 8        TTV's Second LLC                                           Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          7655 Mentor Ave.                                           When was the debt incurred?
          Mentor, OH 44060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of LLC Debt


 4.6
 9        Ty Team 401k                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          P.O. Box 142                                               When was the debt incurred?
          Littleton, MA 01460
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.7
 0        U.S. Attorney General                                      Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Main Justice Bldg                                          When was the debt incurred?
          10th and Constitution Ave NW
          Washington, DC 20530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Any Debt Owed to United States


 4.7
 1        U.S. Attorney N.D. Ohio                                    Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Attn: Bankruptcy Section                                   When was the debt incurred?
          801 W. Superior Avenue 400
          Cleveland, OH 44113-1852
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Any Debt Owed to United States


 4.7
 2        U.S. SEC                                                   Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Securities and Exchange                                    When was the debt incurred?
          Commission
          100 F Street NE
          Washington, DC 20549
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured claims of any variety




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.7
 3        United Collection Bureau Inc.                              Last 4 digits of account number                                                        $1,010.00
          Nonpriority Creditor's Name
          5620 Southwyck Blvd.                                       When was the debt incurred?
          Toledo, OH 43614
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   University Hospitals Cleveland Charges


 4.7
 4        US Bank Trust NA                                           Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Gauarnty of Debt of LLCs


 4.7
 5        William Gates JR                                           Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          815 S Everett High Rd                                      When was the debt incurred?
          Maryville, TN 37804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs




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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 4.7
 6         Zachary Burkons, Receiver                                 Last 4 digits of account number                                                                Unknown
           Nonpriority Creditor's Name
           Rent Due, LLC                                             When was the debt incurred?
           2769 Commercial Road #2
           Cleveland, OH 44113
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Any claims asserted by the Receiver


 4.7
 7         ZIP Mgmt                                                  Last 4 digits of account number                                                                Unknown
           Nonpriority Creditor's Name
           c/o Phil DuChamp                                          When was the debt incurred?
           1900 N. Auburn St
           Indianapolis, IN 46224
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty of Debts of LLCs

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Amber N. Ashba, Esq.                                          Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Ashba Law LLC                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 1436 Church and State Way #901
 Cleveland, OH 44113
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bryan D. Thomas                                               Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 490 City Park Avenue                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43215
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chad D. Cooper, Esq.                                          Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Ulmer & Berne LLP                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 1660 W. 2nd Street, Suite 1100
 Cleveland, OH 44113
                                                               Last 4 digits of account number



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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chad D. Cooper, Esq.                                          Line 4.67 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Ulmer & Berne, LLP                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 1660 W. 2nd Street, Suite 1100
 Cleveland, OH 44113
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Christa Heckman                                               Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Zashin & Rich                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 950 Main Avenue, 4th Floor
 Cleveland, OH 44113
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Constance C. Linsky                                           Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Jody M. Oster                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 1391 W. Fifth Avenue, Suite 433
 Columbus, OH 43212
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Daniel A. Cox, Esq.                                           Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Wood + Lamping LLP                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 600 Vine Street Suite 2500
 Cincinnati, OH 45202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Daniel A. Cox, Esq.                                           Line 4.62 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Wood + Lamping LLP                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 600 Vine Street Suite 2500
 Cincinnati, OH 45202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Daniel A. Cox, Esq.                                           Line 4.74 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Wood + Lamping                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 600 Vine Street Suite 2500
 Cincinnati, OH 45202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 David Dvorin                                                  Line 4.68 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 30195 Chagrin Blvd Suite 300                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44124
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 David M. Dvorin, Esq.                                         Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Lieberman, Dvorin & Dowd, LLC                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 30195 Chagrin Blvd, Suite 300
 Cleveland, OH 44124
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 David M. Dvorin, Esq.                                         Line 4.67 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Lieberman, Dvorin & Dowd, LLC                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 30195 Chagrin Blvd, Suite 300
 Cleveland, OH 44124
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Evan T. Byron, Esq.                                           Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Kaufman, Drozdowski & Grendell                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 LLC
 29525 Chagrin Blvd. Suite 250
 Beachwood, OH 44122
                                                               Last 4 digits of account number


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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Herbert J. Kramer                                             Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Kramer Legal Services LLC                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 771
 Gates Mills, OH 44040
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Hunter G. Cavell                                              Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 30625 Solon Road, Suite C                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Solon, OH 44139
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kevin Saunders                                                Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Brennan Manna & Diamond, LLC                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 200 Public Square, Suite 3270
 Cleveland, OH 44114
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nathaniel R. Sinn, Esq.                                       Line 4.68 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 950 Main Avenue Suite 500                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44113
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nathaniel R. Sinn, Esq.                                       Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Porter Wright Morris & Arthur                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 950 Main Ave. Suite 500
 Cleveland, OH 44113
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nicholas Vento, Esq.                                          Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1375 East Ninth Street, Suite 900                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44114
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 R. Deane Linsky                                               Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Jody M. Oster                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 1391 West Fifth Avenue, Suite 433
 Columbus, OH 43212
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 R. Scott Heasley, Esq.                                        Line 4.36 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Meyers Roman LLC                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 28601 Chagrin Blvd., Suite 600
 Beachwood, OH 44122
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Richard Bain, Esq.                                            Line 4.76 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Meyers Roman Friedburg & Lewis                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 28601 Chagrin Blvd Suite 600
 Beachwood, OH 44122
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Robert Giallombardo, Esq.                                     Line 4.72 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Securities & Exchange Commission                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 100 F Street NE
 Washington, DC 20549
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ryan L. Thomas                                                Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 503 S. Front Street Suite 250

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 29 of 30
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 Debtor 1 Matthew M. Motil                                                                               Case number (if known)

 Columbus, OH 43215                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Special IRA Serv. FBO Nathan                                  Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Horner                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 c/o Jody M. Oster
 1391 West Fifth Avenue Suite 433
 Columbus, OH 43212
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Stephen M. Bales, Esq.                                        Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Ziegler Metzger LLP                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 1111 Superior Avenue Suite 1000
 Cleveland, OH 44114
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Titus Donnell                                                 Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Donnell & Thomas Law, LLC                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 503 South Front Street Suite 250
 Columbus, OH 43215
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Zachary Burkons                                               Line 4.68 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2769 Commercial Road #2                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44113
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Zachary Burkons                                               Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2769 Commercial Road #2                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44113
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                    59,830.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    59,830.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                    84,916.27
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  135,527.73

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  220,444.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 30 of 30
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 Fill in this information to identify your case:

 Debtor 1                  Matthew M. Motil
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Tesla Lease Trust                                                          Tesla Auto Lease Model 3 Expires December 2022
               12832 Frontrunner Boulevard
               Suite
               Draper, UT 84020




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Matthew M. Motil
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         3rd Party Management, LLC                                                            Schedule D, line
                28475 Lorain Road #595                                                               Schedule E/F, line  4.21
                North Olmsted, OH 44070
                                                                                                     Schedule G
                                                                                                   Forge Trust Co and Eric Chase



    3.2         Alpha Legend Ventures, LLC                                                           Schedule D, line
                28475 Lorain Road #595                                                               Schedule E/F, line  4.21
                North Olmsted, OH 44070
                                                                                                     Schedule G
                                                                                                   Forge Trust Co and Eric Chase



    3.3         Alpha Thread Worx, LLC                                                               Schedule D, line
                28475 Lorain Road #595                                                               Schedule E/F, line  4.21
                North Olmsted, OH 44070
                                                                                                     Schedule G
                                                                                                   Forge Trust Co and Eric Chase




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 6
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 Debtor 1 Matthew M. Motil                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.4      ALV Cleveland LLC                                                                 Schedule D, line
             c/o NS Equity Cleveland LLC                                                       Schedule E/F, line     4.68
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             TTV's Second LLC



    3.5      ALV Cleveland, LLC                                                                Schedule D, line
             c/c NS Equity Cleveland                                                           Schedule E/F, line     4.1
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             668 Atrium, LLC



    3.6      ALV Cleveland, LLC                                                                Schedule D, line
             c/o NS Equity Cleveland                                                           Schedule E/F, line     4.67
             28475 Lorain Road # 595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             TTV's First, LLC



    3.7      ALV Twinsburg, LLC                                                                Schedule D, line
             c/o NS Equity Cleveland, LLC                                                      Schedule E/F, line 4.8
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Bluestone Commercials, LLC



    3.8      BUYCLE 150 LLC                                                                    Schedule D, line
             c/o NS Equity Cleveland                                                           Schedule E/F, line 4.36
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Lou-Ann Krause and Mark D'Olimpio



    3.9      BUYCLE 150, LLC                                                                   Schedule D, line
             c/c NS Equity Cleveland LLC                                                       Schedule E/F, line     4.35
             28475 Lorain Road # 595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Lori Rehn



    3.10     BUYCLE 158, LLC                                                                    Schedule D, line
             c/o NS Equity Cleveland, LLC                                                       Schedule E/F, line    4.10
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Brian Bonetta




Official Form 106H                                                       Schedule H: Your Codebtors                                Page 2 of 6
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 Debtor 1 Matthew M. Motil                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.11     BUYCLE 158, LLC                                                                   Schedule D, line
             c/o NS Equity Cleveland, LLC                                                      Schedule E/F, line 4.36
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Lou-Ann Krause and Mark D'Olimpio



    3.12     BUYCLE 158, LLC                                                                   Schedule D, line
             c/o NS Equity Cleveland, LLC                                                      Schedule E/F, line  4.21
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Forge Trust Co and Eric Chase



    3.13     BUYCLE 175, LLC                                                                   Schedule D, line
             c/o NS Equity Cleveland, LLC                                                      Schedule E/F, line    4.22
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Grove Capital, LLC



    3.14     BUYCLE 175, LLC                                                                   Schedule D, line
             c/o NS Equity Cleveland                                                           Schedule E/F, line 4.36
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Lou-Ann Krause and Mark D'Olimpio



    3.15     BUYCLE 175, LLC                                                                   Schedule D, line
             c/o NS Equity Cleveland, LLC                                                      Schedule E/F, line  4.21
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Forge Trust Co and Eric Chase



    3.16     BUYCLE 176, LLC                                                                   Schedule D, line
             c/o NS Equity Cleveland, LLC                                                      Schedule E/F, line  4.21
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Forge Trust Co and Eric Chase



    3.17     CLE Bros Coffee, LLC                                                              Schedule D, line
             28475 Lorain Road #595                                                            Schedule E/F, line  4.21
             North Olmsted, OH 44070
                                                                                               Schedule G
                                                                                             Forge Trust Co and Eric Chase



    3.18     Drew Schafer                                                                      Schedule D, line
             132 Vista Court                                                                   Schedule E/F, line    4.68
             North Olmsted, OH 44070
                                                                                               Schedule G
                                                                                             TTV's Second LLC


Official Form 106H                                                       Schedule H: Your Codebtors                                Page 3 of 6
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 Debtor 1 Matthew M. Motil                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:


    3.19     Drew Schafer                                                                      Schedule D, line
             2174 Halfway Road                                                                 Schedule E/F, line 4.8
             Monroeville, OH 44847
                                                                                               Schedule G
                                                                                             Bluestone Commercials, LLC



    3.20     INVCLE150, LLC                                                                     Schedule D, line
             c/o/ North Shore Equity Sales, LLC                                                 Schedule E/F, line 4.12
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Bridge Loan Venture V Trust 2017-1



    3.21     Michael Ely                                                                       Schedule D, line
             240 Inwood Blvd                                                                   Schedule E/F, line    4.68
             Avon Lake, OH 44012
                                                                                               Schedule G
                                                                                             TTV's Second LLC



    3.22     Michael Ely                                                                       Schedule D, line
             240 Inwood Blvd                                                                   Schedule E/F, line 4.8
             Avon Lake, OH 44012
                                                                                               Schedule G
                                                                                             Bluestone Commercials, LLC



    3.23     Motil Capital, LLC                                                                Schedule D, line
             4859 Dover Center Road, Suite 11                                                  Schedule E/F, line  4.21
             North Olmsted, OH 44070
                                                                                               Schedule G
                                                                                             Forge Trust Co and Eric Chase



    3.24     North Shore Equity Management, LLC                                                Schedule D, line
             c/o CFD Service Company, Inc.                                                     Schedule E/F, line  4.21
             1300 East Ninth Street, 20th Floor
                                                                                               Schedule G
             Cleveland, OH 44114
                                                                                             Forge Trust Co and Eric Chase



    3.25     NS Cleveland LLC                                                                  Schedule D, line
             28475 Lorain Road                                                                 Schedule E/F, line    4.43
             North Olmsted, OH 44070
                                                                                               Schedule G
                                                                                             Michael Volkerding



    3.26     NS Equity Cleveland                                                               Schedule D, line
             28475 Lorain Road #595                                                            Schedule E/F, line    4.30
             North Olmsted, OH 44070
                                                                                               Schedule G
                                                                                             Kayla Voller



Official Form 106H                                                       Schedule H: Your Codebtors                                Page 4 of 6
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 Debtor 1 Matthew M. Motil                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.27     NS Equity Cleveland LLC                                                           Schedule D, line
             28475 Lorain Road # 595                                                           Schedule E/F, line    4.58
             North Olmsted, OH 44070
                                                                                               Schedule G
                                                                                             Raymond Catteneo



    3.28     NS Equity Cleveland, LLC                                                          Schedule D, line
             28475 Lorain Road #595                                                            Schedule E/F, line   4.24
             North Olmsted, OH 44070
                                                                                               Schedule G
                                                                                             IRA Services Trust Co.



    3.29     NS Equity Cleveland, LLC                                                          Schedule D, line
             c/o NS Equity Cleveland, LLC                                                      Schedule E/F, line    4.17
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Danielle Hansen



    3.30     NS Equity Cleveland, LLC                                                          Schedule D, line
             28475 Lorain Road #595                                                            Schedule E/F, line  4.21
             North Olmsted, OH 44070
                                                                                               Schedule G
                                                                                             Forge Trust Co and Eric Chase



    3.31     NSEM Mansfield 1, LLC                                                             Schedule D, line
             28475 Lorain Road #595                                                            Schedule E/F, line  4.21
             North Olmsted, OH 44070
                                                                                               Schedule G
                                                                                             Forge Trust Co and Eric Chase



    3.32     NSEM Mansfield 1, LLC                                                             Schedule D, line
             c/o NS Equity Cleveland, LLC                                                      Schedule E/F, line 4.62
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Sharestates Investments DACL, LLC



    3.33     NSEM Mansfield 2, LLC                                                             Schedule D, line
             c/o NS Equity Cleveland JJC                                                       Schedule E/F, line    4.43
             28475 Lorain Road #595
                                                                                               Schedule G
             North Olmsted, OH 44070
                                                                                             Michael Volkerding



    3.34     NSEM Mansfield 2, LLC                                                             Schedule D, line
             28475 Lorain Road, #595                                                           Schedule E/F, line  4.21
             North Olmsted, OH 44070
                                                                                               Schedule G
                                                                                             Forge Trust Co and Eric Chase




Official Form 106H                                                       Schedule H: Your Codebtors                                Page 5 of 6
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 Debtor 1 Matthew M. Motil                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.35     NSEM Mansfield 2, LLC                                                             Schedule D, line
             28475 Lorain Road #595                                                            Schedule E/F, line    4.74
                                                                                               Schedule G
                                                                                             US Bank Trust NA



    3.36     Trinity Capital Management, LLC                                                   Schedule D, line
             28475 Lorain Road # 595                                                           Schedule E/F, line  4.21
             North Olmsted, OH 44070
                                                                                               Schedule G
                                                                                             Forge Trust Co and Eric Chase




Official Form 106H                                                       Schedule H: Your Codebtors                                Page 6 of 6
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 Fill in this information to identify your case:

 Debtor 1                    Matthew M. Motil
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Matthew M. Motil                                                      X
              Matthew M. Motil                                                          Signature of Debtor 2
              Signature of Debtor 1

              Date       March 7, 2022                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                 Matthew M. Motil
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                Check if this is an
                                                                                                                           amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?

    Creditor's                                                              Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of                                                          Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:

    Creditor's                                                              Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of                                                          Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:

    Creditor's                                                              Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of                                                          Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:

    Creditor's                                                              Surrender the property.                      No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                            page 1

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 Debtor 1      Matthew M. Motil                                                                       Case number (if known)


     name:                                                                  Retain the property and redeem it.                          Yes
                                                                            Retain the property and enter into a
     Description of                                                         Reaffirmation Agreement.
     property                                                               Retain the property and [explain]:
     securing debt:



 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               Tesla Lease Trust                                                                                   No

                                                                                                                                  Yes

 Description of leased        Tesla Auto Lease Model 3 Expires December 2022
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Matthew M. Motil                                                         X
       Matthew M. Motil                                                                 Signature of Debtor 2
       Signature of Debtor 1

       Date        March 7, 2022                                                    Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $78        administrative fee                                         factors.
                   $278        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $78        administrative fee                                                fiduciary capacity,
                   $313        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty
        of perjury—either orally or in writing—in                                         In addition, after filing a bankruptcy case, you generally
        connection with a bankruptcy case, you may be                                     must complete a financial management instructional
        fined, imprisoned, or both.                                                       course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
        All information you supply in connection with a                                   course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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                                                               United States Bankruptcy Court
                                                                     Northern District of Ohio
 In re      Matthew M. Motil                                                                     Case No.
                                                                                 Debtor(s)       Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: March 7, 2022                                                  /s/ Matthew M. Motil
                                                                      Matthew M. Motil
                                                                      Signature of Debtor




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x




                           3rd Party Management, LLC
                           28475 Lorain Road #595
                           North Olmsted, OH 44070


                           668 Atrium, LLC
                           4420 Sherwin Road
                           Willoughby, OH 44094


                           Ace & Deuce (P. DuChamp)
                           1900 N Auburn St
                           Indianapolis, IN 46224


                           Adam Niec
                           5145 Brecksville Road, Suite 305
                           Richfield, OH 44286


                           Alpha Legend Ventures, LLC
                           28475 Lorain Road #595
                           North Olmsted, OH 44070


                           Alpha Thread Worx, LLC
                           28475 Lorain Road #595
                           North Olmsted, OH 44070


                           ALV Cleveland LLC
                           c/o NS Equity Cleveland LLC
                           28475 Lorain Road #595
                           North Olmsted, OH 44070


                           ALV Cleveland, LLC
                           c/c NS Equity Cleveland
                           28475 Lorain Road #595
                           North Olmsted, OH 44070


                           ALV Cleveland, LLC
                           c/o NS Equity Cleveland
                           28475 Lorain Road # 595
                           North Olmsted, OH 44070


                           ALV Twinsburg, LLC
                           c/o NS Equity Cleveland, LLC
                           28475 Lorain Road #595
                           North Olmsted, OH 44070




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                       c/c NS Equity Cleveland LLC
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                       North Olmsted, OH 44070


                       BUYCLE 158, LLC
                       c/o NS Equity Cleveland, LLC
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                       North Olmsted, OH 44070


                       BUYCLE 175, LLC
                       c/o NS Equity Cleveland, LLC
                       28475 Lorain Road #595
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                       BUYCLE 175, LLC
                       c/o NS Equity Cleveland
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                       BUYCLE 176, LLC
                       c/o NS Equity Cleveland, LLC
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                       c/o NS Equity Cleveland, LLC
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                       North Olmsted, OH 44070


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                       Columbus, OH 43213


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                       Columbus, OH 43213


                       Trinity Capital Management, LLC
                       28475 Lorain Road # 595
                       North Olmsted, OH 44070


                       Troy Malone
                       8709 N Dana Ave
                       Portland, OR 97203


                       TTV's First, LLC
                       6755 Mentor Avenue
                       Mentor, OH 44060


                       TTV's Second LLC
                       7655 Mentor Ave.
                       Mentor, OH 44060


                       Ty Team 401k
                       P.O. Box 142
                       Littleton, MA 01460


                       U.S. Attorney General
                       Main Justice Bldg
                       10th and Constitution Ave NW
                       Washington, DC 20530


                       U.S. Attorney N.D. Ohio
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                       Cleveland, OH 44113-1852


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                       Securities and Exchange Commission
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                       US Bank Trust NA



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                       Zachary Burkons
                       2769 Commercial Road #2
                       Cleveland, OH 44113


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                       Rent Due, LLC
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